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 6   Attorneys for Plaintiff

 7                              UNITED STATES DISTRICT COURT
 8                                  DISTRICT OF ARIZONA
 9   Douglas Altschuler,
                                                   No. CV-21-00119-TUC-DCB
10                 Plaintiff,
            v.
11                                                 NOTICE OF SERVICE OF
     Chubb National Insurance Company,             DISCOVERY RESPONSES
12   an Indiana corporation,
13                 Defendant.
14
15
16           NOTICE IS HEREBY GIVEN, pursuant to LRCiv 5.2, that Plaintiff served
17   Defendant Chubb National Insurance Company with the following documents, via
18   electronic mail on April 25, 2022:
19           1.    Plaintiff’s Answers to Defendant’s First Set of Nonuniform Interrogatories;
20                 and
21           2.    Plaintiff’s Response to Defendant’s First Set of Production to Plaintiff.
22          DATED this 25th day of April, 2022.
23                                             POLI, MOON & ZANE, PLLC
24
                                               By /s/ Jeff G. Zane
25                                                 Michael N. Poli
                                                   Jeff G. Zane
26                                                 2999 North 44th Street, Suite 325
                                                   Phoenix, Arizona 85018
27                                                 Attorneys for Plaintiff
28
       Case 4:21-cv-00119-DCB Document 59 Filed 04/25/22 Page 2 of 2



 1                               CERTIFICATE OF SERVICE
 2         I hereby certify that on April 25, 2022, I electronically transmitted the foregoing
 3   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
 4   Notice of Electronic Filing to the following CM/ECF registrants:
 5                                     Robert T. Sullivan
                                        Jonathan Y. Yu
 6                          BROENING OBERG WOODS & WILSON, P.C.
                              2800 N. Central Avenue, Suite 1600
 7                                  Phoenix, Ariona 85004
                                      rts@bowwlaw.com
 8                                   jyy@bowwlaw.com
                                   Attorneys for Defendant
 9
10                                                   /s/ Linda Lieber
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